                   Case 8:21-cv-00878-CJC-KES Document 1 Filed 05/12/21 Page 1 of 9 Page ID #:1




                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      REBECCA R. WEINREICH, SB# 155684
                    2   E-Mail: Rebecca.Weinreich@lewisbrisbois.com
                      STEPHEN V. KOVARIK, SB# 184656
                    3   E-Mail: Stephen.Kovarik@lewisbrisbois.com
                      633 West 5th Street, Suite 4000
                    4 Los Angeles, California 90071
                      Telephone: 213.250.1800
                    5 Facsimile: 213.250.7900
                    6 Attorneys for Plaintiff ENDURANCE
                      ASSURANCE CORPORATION
                    7
                    8                               UNITED STATES DISTRICT COURT
                    9               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                   10
                   11 ENDURANCE ASSURANCE                                Case No.
                      CORPORATION,
                   12                                                    COMPLAINT FOR
                               Plaintiff,                                DECLARATORY RELIEF
                   13
                          vs.
                   14                                                    JURY TRIAL REQUESTED
                      OC HELICOPTERS, LLC.
                   15
                               Defendant.
                   16
                   17
                   18            Plaintiff Endurance Assurance Corporation (“Endurance”), by way of its
                   19 complaint against defendant OC Helicopters, LLC (“OC Helicopters”), states:
                   20                                    NATURE OF THE ACTION
                   21            1.        This is an insurance coverage action seeking declaratory relief pursuant
                   22 to 28 U.S.C. § 2201 and Rule 57 of the Federal Rules of Civil Procedure.
                   23 Endurance seeks a declaration that (a) the exception to coverage for rotorwing
                   24 aircraft to its Aircraft Insurance Policy No. NAC6023958 issued to OC Helicopters
                   25 precludes coverage for the four liability actions brought against OC Helicopters
                   26 arising from the January 26, 2020 crash of a Sikorsky S76B helicopter, and (b)
                   27 Endurance is entitled to reimbursement of defense costs incurred to date in

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                   Case 8:21-cv-00878-CJC-KES Document 1 Filed 05/12/21 Page 2 of 9 Page ID #:2




                    1                                   JURISDICTION AND VENUE
                    2            2.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §
                    3 1332(a), as the action is between citizens of different states and the amount in
                    4 controversy exceeds $75,000, exclusive of interest and costs.
                    5            3.        Venue is proper in the Central District of California because OC
                    6 Helicopters resides within this district, the loss took place in the district, and the four
                    7 liability actions against OC Helicopters are pending in the district.
                    8            4.        This Court is authorized to grant declaratory judgment under the
                    9 Declaratory Judgment Act, 28 U.S.C. § 2201, and Rule 57 of the Federal Rules of
                   10 Civil Procedure.
                   11                                           THE PARTIES
                   12            5.        Endurance is a Delaware corporation with its principal place of
                   13 business in Purchase, New York.
                   14            6.        OC Helicopters is and was at all relevant times a limited liability
                   15 corporation, incorporated under the laws of the State of California with its principal
                   16 place of business in Santa Ana, California.
                   17            7.        On information and belief, the sole member in OC Helicopters is
                   18 Richard Webb (“Webb”).
                   19            8.        On information and belief, Webb is and was at all relevant times a
                   20 citizen of the State of California.
                   21                                    FACTUAL BACKGROUND
                   22 A.         The Endurance Aircraft Insurance Policy
                   23            9.        Endurance issued Aircraft Insurance Policy No. NAC6023958
                   24 (“Policy”) to OC Helicopters for the period April 11, 2019 to April 11, 2020. The
                   25 Policy contains a single limit of $10,000,000 for bodily injury and property damage,
                   26 subject to all of the Policy’s terms, conditions and limitations. A copy of the Policy
                   27 is attached to this Complaint as Exhibit A.

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                   Case 8:21-cv-00878-CJC-KES Document 1 Filed 05/12/21 Page 3 of 9 Page ID #:3




                    1            10.       Liability insurance is provided under Coverage D of the Policy, which
                    2 states:
                    3            Coverage D - Single Limit Bodily Injury and Property Damage
                                 Liability (including any and all Related Claims) - To pay on your
                    4            behalf all sums which you become legally obligated to pay as damages
                                 because of Bodily Injury sustained by any person (excluding any
                    5            Passenger unless the words “Including Passengers” appear in Item 4
                                 of the Declarations) and Property Damage caused by an Occurrence
                    6            during the Policy Period and arising out of the ownership, maintenance
                                 or use of an Aircraft.
                    7
                    8            11.       The terms “you” and “your” as used in the Policy is the Named
                    9 Insured.
                   10            12.       “Named Insured” is defined as “the person or organization named in
                   11 Item 1 of the Declarations”, which identifies OC Helicopters.
                   12            13.       The term “Aircraft” means the “Aircraft defined in the Declarations”.
                   13 Item 5 of the Declarations incorporates the attached Schedule Of Aircraft, which
                   14 lists as the sole aircraft a Eurocopter EC-120, FAA certification number N121PD.
                   15            14.       Endorsement 2 of the Policy, the Charter and Commercial Expansion
                   16 Endorsement, extends Coverage D to include Non-Owned Aircraft Liability
                   17 coverage, as follows:
                   18            Non-Owned Aircraft Liability - It is agreed that, with respect to
                                 Coverages A, B and D in Section I of the Policy, coverage will apply to
                   19            any aircraft you use but which is not declared in Item 5 of the
                                 Declarations always provided that you have no interest in the aircraft as
                   20            owner in whole or in part and exercise no part in the servicing or
                                 maintenance of the aircraft.
                   21
                                 Our liability for losses under this coverage with respect to non-owned
                   22            aircraft is subject to the Limits of Liability shown in Item 4 of the
                                 Declarations and does not increase the maximum amount we will pay.
                   23
                                 No coverage hereunder applies:
                   24
                                           a) To liability arising out of any product you manufacture, sell,
                   25                         handle or distribute.
                   26                      b) To any Aircraft having a seating capacity exceeding 0 seats.
                   27                      c) To liability for loss of or damage to the aircraft or any
                                              consequential loss arising therefrom.
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                   Case 8:21-cv-00878-CJC-KES Document 1 Filed 05/12/21 Page 4 of 9 Page ID #:4




                    1                      d) To any rotorwing aircraft or amphibious aircraft.
                    2            Solely as respects Non-Owned Aircraft, it is agreed that Item 6, Pilots,
                                 of the Declarations shall not apply provided you do nothing to
                    3            prejudice our subrogation rights.
                    4            Non-Owned Aircraft Liability coverage hereunder will be excess over
                                 any other valid and collectible Insurance available to you.
                    5
                    6 B.         The Loss
                    7            15.       On January 26, 2020, a Sikorsky S76B helicopter, bearing FAA
                    8 registration number N72EX (the “Sikorsky”), crashed near Calabasas, California.
                    9 The aircraft was en route from John Wayne Airport, in Santa Ana, to Camarillo
                   10 Airport, in Camarillo, California. The helicopter was destroyed on impact. The
                   11 pilot, Ara Zobayan, was fatally injured along with eight passengers: Alyssa
                   12 Altobelli, Keri Altobelli, John Altobelli, Kobe Bryant, Gianna “Gigi” Bryant,
                   13 Payton Chester, Sarah Chester, and Christina Mauser.
                   14            16.       The Sikorsky was owned by Island Express Holding Corp. (“Island
                   15 Express Holding”) and operated by Island Express Helicopters, Inc. (“Island
                   16 Express Helicopters”).
                   17 C.         The Liability Actions
                   18            17.       The crash resulted in four liability actions being brought in Los
                   19 Angeles County Superior Court by families of the crash victims against Island
                   20 Express Helicopters, Island Express Holding, and the Estate of Ara George Zobayan
                   21 (“Zobayan”).
                   22                      a.    Altobelli, et al. v. Island Express Helicopters, Inc., et al., Los
                   23 Angeles County Superior Court Case No. 20STCV14963) (“Altobelli action”). A
                   24 copy of the Complaint in the Altobelli action is attached hereto as Exhibit B.
                   25                      b.    Bryant, et al., v. Island Express Helicopters, Inc., et al., Los
                   26 Angeles County Superior Court No. 20STCV07492) (“Bryant action”). A copy of
                   27 the Second Amended Complaint in the Bryant action is attached hereto as Exhibit C.

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                   Case 8:21-cv-00878-CJC-KES Document 1 Filed 05/12/21 Page 5 of 9 Page ID #:5




                    1                      c.    Chester, et al. v. Island Express Helicopters, Inc., et al., Los
                    2 Angeles County Superior Court Case No. 20STCV17897 (“Chester Action”). A
                    3 copy of the Complaint in the Chester action is attached hereto as Exhibit D.
                    4                      d.    Mauser, et al. v. Island Express Helicopters, Inc., et al., Los
                    5 Angeles County Superior Court Case No. 20STCV14973 (“Mauser Action”). A
                    6 copy of the Complaint in the Mauser action is attached hereto as Exhibit E.
                    7            18.       OC Helicopters was subsequently added as a defendant in the Altobelli,
                    8 Bryant, Chester, and Mauser actions (collectively, the “Liability Actions”) based
                    9 upon its alleged negligence in connection with the fatal flight. Copies of the
                   10 amendments substituting OC Helicopters for Doe Defendants in the Altobelli,
                   11 Chester and Mauser actions are attached hereto as Exhibits F, G and H. OC
                   12 Helicopters was added as a defendant in the Second Amended Complaint filed in the
                   13 Bryant action.
                   14            19.       Island Express Helicopters and Island Express Holding asserted a
                   15 cross-complaint in each of the Liability Actions against two flight controllers
                   16 employed by the Federal Aviation Administration (“FAA”). It is alleged that a
                   17 series of erroneous acts and omissions by the controllers resulted in the crash.
                   18            20.       On September 30, 2020, the four Liability Actions were removed to the
                   19 United States District Court for the Central District of California under the
                   20 following case numbers: Bryant (2:20-cv-08953), Altobelli (2:20-cv-8954), Chester
                   21 (2:20-cv-8955), and Mauser (2:20-cv-8956).
                   22            21.       On November 16, 2020, Endurance extended a defense to OC
                   23 Helicopters under the Policy pursuant to a reservation of rights in the Altobelli,
                   24 Bryant, Chester and Mauser actions and has paid OC Helicopters’ defense costs in
                   25 those matters.
                   26            22.       Endurance’s reservation of rights includes the right to seek
                   27 reimbursement of attorney’s fees and costs incurred in connection with the defense

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                   Case 8:21-cv-00878-CJC-KES Document 1 Filed 05/12/21 Page 6 of 9 Page ID #:6




                    1                                               COUNT I
                    2                                         (Declaratory Relief)
                    3            23.       Endurance incorporates by reference paragraphs 1 through 22 as if fully
                    4 set forth herein.
                    5            24.       The Sikorsky was owned by Island Express Holdings at the time of the
                    6 loss.
                    7            25.       Endorsement 2 of the Policy extends liability coverage for aircraft not
                    8 owned by OC Helicopters as follows:
                    9            Non-Owned Aircraft Liability - It is agreed that, with respect to
                                 Coverages A, B and D in Section I of the Policy, coverage will apply to
                   10            any aircraft you use but which is not declared in Item 5 of the
                                 Declarations always provided that you have no interest in the aircraft as
                   11            owner in whole or in part and exercise no part in the servicing or
                                 maintenance of the aircraft.
                   12
                                 Our liability for losses under this coverage with respect to non-owned
                   13            aircraft is subject to the Limits of Liability shown in Item 4 of the
                                 Declarations and does not increase the maximum amount we will pay.
                   14
                                 No coverage hereunder applies:
                   15
                                           a) To liability arising out of any product you manufacture, sell,
                   16                         handle or distribute.
                   17                      b) To any Aircraft having a seating capacity exceeding 0 seats.
                   18                      c) To liability for loss of or damage to the aircraft or any
                                              consequential loss arising therefrom.
                   19
                                           d) To any rotorwing aircraft or amphibious aircraft.
                   20
                                 Solely as respects Non-Owned Aircraft, it is agreed that Item 6, Pilots,
                   21            of the Declarations shall not apply provided you do nothing to
                                 prejudice our subrogation rights.
                   22
                                 Non-Owned Aircraft Liability coverage hereunder will be excess over
                   23            any other valid and collectible Insurance available to you.
                   24            26.       Subject to all of the Policy’s terms, conditions and limitations,
                   25 coverage for Non-Owned Aircraft Liability applies to aircraft that are not declared
                   26 in Item 5 of the Policy’s Declarations and which OC Helicopters uses, has no
                   27 ownership interest in, and does not service or maintain.

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                   Case 8:21-cv-00878-CJC-KES Document 1 Filed 05/12/21 Page 7 of 9 Page ID #:7




                    1            27.       The Non-Owned Aircraft Liability coverage does not apply “[t]o any
                    2 rotorwing aircraft or amphibious aircraft.”
                    3            28.       Rotorwing aircraft is a category of aircraft that includes helicopters.
                    4 The Sikorsky helicopter, therefore, is a rotorwing aircraft.
                    5            29.       Because the Sikorsky is a rotorwing aircraft, it does not fall within the
                    6 scope of the Non-Owned Aircraft Liability coverage provided by the Policy or is
                    7 excluded from such coverage. The Policy, therefore, does not provide coverage for
                    8 the claims alleged against OC Helicopters in the Liability Actions. Accordingly,
                    9 Endurance has no obligation to either defend or indemnify OC Helicopters for the
                   10 claims alleged against it in those actions.
                   11            30.       Endurance is informed and believes, and on such information and belief
                   12 alleges, that OC Helicopters disputes Endurance’s contentions and asserts that it is
                   13 entitled to insurance coverage under the Policy for the Liability Actions.
                   14            31.       A dispute exists between Endurance and OC Helicopters regarding
                   15 Endurance’s rights, duties and obligations under the Policy in connection with the
                   16 Liability Actions.
                   17            32.       Endurance hereby requests a declaration that the claims asserted against
                   18 OC Helicopters in the Liability Actions do not fall within the scope of coverage
                   19 provided by the Policy and that Endurance does not have a duty to defend or
                   20 indemnity OC Helicopters in connection with those matters.
                   21                                              COUNT II
                   22                                 (Reimbursement of Defense Costs)
                   23            33.       Endurance incorporates by reference paragraphs 1 through 32 as if fully
                   24 set forth herein.
                   25            34.       By letter dated November 16, 2020, Endurance accepted the tender of
                   26 defense on behalf of OC Helicopters in the Liability Actions under the Policy
                   27 pursuant to a reservation of rights. The reservation included Endurance’s right to

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                    1 seek reimbursement of defense costs incurred in connection with the Liability
                    2 Actions.
                    3            35.       Endurance has no obligation to defend OC Helicopters in the Liability
                    4 Actions as the claims alleged in that action are not potentially covered or are
                    5 otherwise excluded under the terms of the Policy.
                    6            36.       OC Helicopters has been unjustly enriched by the amount of fees and
                    7 costs paid or to be paid by Endurance to defend the claims against OC Helicopters
                    8 that are not covered or are otherwise excluded under the terms of the Policy.
                    9            37.       OC Helicopters has obtained or will obtain a direct unjust enrichment
                   10 without any adequate legal basis, and should be required to return that enrichment.
                   11 Endurance, therefore, seeks reimbursement of all sums paid to defend OC
                   12 Helicopters against the claims in the Liability Actions.
                   13                                        PRAYER FOR RELIEF
                   14            WHEREFORE, plaintiff Endurance prays for judgment against defendant OC
                   15 Helicopters, as follows:
                   16            1.        Determining and declaring that Endurance has no duty under Aircraft
                   17                      Insurance Policy No. NAC6023958 to defend or indemnity OC
                   18                      Helicopters in connection with the Altobelli, Bryant, Chester, and
                   19                      Mauser actions;
                   20            2.        Awarding Endurance an amount according to proof to reimburse
                   21                      Endurance for attorney’s fees and costs paid to defend OC Helicopters
                   22                      in the Altobelli, Bryant, Chester, and Mauser actions;
                   23            3.        Awarding Endurance its costs; and
                   24            4.        Granting such further relief as this Court deems just and proper.
                   25 / /
                   26 / /
                   27 / /

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                   Case 8:21-cv-00878-CJC-KES Document 1 Filed 05/12/21 Page 9 of 9 Page ID #:9




                    1                                      JURY DEMAND
                    2            Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Endurance
                    3 demands trial by jury in this action of all issues so triable.
                    4
                    5 DATED: May 12, 2021                     LEWIS BRISBOIS BISGAARD & SMITH LLP
                    6
                    7
                                                              By:         /s/ Stephen V. Kovarik
                    8
                                                                    Rebecca R. Weinreich
                    9                                               Stephen V. Kovarik
                   10                                               Attorneys for Plaintiff ENDURANCE
                                                                    ASSURANCE CORPORATION
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